     Case: 1:20-cr-00637 Document #: 49 Filed: 12/10/21 Page 1 of 1 PageID #:149

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:20−cr−00637
                                                           Honorable Manish S. Shah
Jeremiah Harris
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 10, 2021:


        MINUTE entry before the Honorable Manish S. Shah: as to Jeremiah Harris. A
status hearing is set for 1/12/2022 at 11:00 a.m. in Courtroom 1919. By 1/4/22, the
defense shall contact susan_mcclintic@ilnd.uscourts.gov to confirm whether defendant's
presence is being waived for the hearing or not. Time is excluded until 1/12/22 under the
Speedy Trial Act, without objection, to serve the ends of justice. The delay is necessary to
give the parties time for effective preparation, which includes discussions to resolve the
case short of trial, and outweighs the interests of the public and defendant in a speedy
trial. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
